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 5
 6                              UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                  )       Case No. 2:09-CR-00094-MCE
                                                )
10                        Plaintiff,            )       STIPULATION TO CONTINUE
                                                )       MOTION TO QUASH, STATUS
11                 vs.                          )       CONFERENCE, AND MOTION TO
                                                )       SUPPRESS EVIDENCE
12   JOSE SALVADOR SANCHEZ-PALOMINO)
     ET AL.                        )                    DATE: September 24, 2009
13                                              )       TIME: 9:00 AM
                          Defendant.            )       DEPT: Hon. Morrison C. England, Jr.
14   __________________________________________ )

15                 IT IS HEREBY STIPULATED by and between the parties hereto, namely the
16   United States of America through their attorney of record, Assistant United States Attorney
17   Todd D. Leras, defendant Jose Salvador Sanchez-Palomino, through his attorney of
18   record, Assistant Federal Defender Lauren Cusick, Francisco Javier Velasco, through his
19   attorney of record, Daniel A. Bacon, and County of Shasta, through its attorney of record,
20   David M. Yorton, Jr., Deputy County Counsel, that the motion to quash subpoenas, the
21   status conference, and the motion to suppress evidence, presently scheduled before the
22   Hon Morrison C. England, Jr. for September 24, 2009 at the hour of 9:00 AM, be continued
23   to November 12, 2009 at 9:00 AM.
24                 It is further agreed by and between the parties that on said date, an
25   evidentiary hearing will be scheduled for the motion to suppress evidence at a time that is
26   convenient to the court, as well as the parties.
27                 It is further agreed that all pending subpoenas are stayed until November 12,
28   2009, that the defense will notify all recipients of the stay, and that production of


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 1   documents to the defense is not a substitute for a personal appearance in court.
 2                 The parties agree that the delay resulting from the continuance shall be
 3   excluded in the interests of Justice, including, but not limited to, the need for the period of
 4   time set forth herein for effective defense preparation pursuant to 18 U.S.C. Section 3161
 5   (h)(8)(B)(iv), and availability of counsel.
 6   Dated: September 21, 2009..                   LAWRENCE G. BROWN, United States Attorney
 7
                                                   By:/s/ Todd D. Leras______________________
 8                                                    TODD D. LERAS, Assistant U.S. Attorney
                                                      Attorney for Plaintiff
 9
     Dated: September 21, 2009.                    DANIEL J. BRODERICK, Federal Defender
10
11                                                 By:/s/ Lauren Cusick
                                                      LAUREN CUSICK, Attorney for
12                                                    JOSE SALVADOR SANCHEZ-PALOMINO
13   Dated: September 21, 2009.
14                                                 /s/ Daniel A. Bacon
                                                   DANIEL A. BACON, Attorney for
15                                                 FRANCISCO JAVIER VELASCO
16
     Dated: September 21, 2009.                    MICHAEL A. RALSTON, Shasta County Counsel
17
18                                                 By:/s/ David M. Yorton, Jr.
                                                      DAVID M. YORTON, JR., Attorney for
19                                                    COUNTY OF SHASTA
20                                                 ORDER
21                 IT SO ORDERED. Time is excluded in the interests of justice pursuant to
22   18 U.S.C. Section 3161 (h)(8)(B)(iv) and availability of counsel.
23
      Dated: September 22, 2009
24
25                                                 ______________________________
                                                   MORRISON C. ENGLAND, JR.
26
                                                   UNITED STATES DISTRICT JUDGE
27
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